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                              UNITED STATES BANKRUPTCY COURT
                                        DISTRICT OF NEBRASKA
                                            LINCOLN DIVISION
----------------------------------------------------------------X
IN RE:                                                            Case Number: 16-41851-TLS
                                                                    Chapter: 7
Charles D. Bowlby,
aka Charles David Bowlby,
                           Debtor(s).
----------------------------------------------------------------X
                                     CERTIFICATE OF SERVICE

The undersigned hereby certifies that a copy of the attached Text Order regarding 6726 Platte
Avenue, Lincoln, NE 68507 was served electronically on the following parties in interest via the
Court's CM/ECF System on January 06, 2021:

John A. Lentz
Attorney for Debtor
650 J St.
Suite 215b
Lincoln, NE 68508

John Stalnaker
Trustee
1111 N. 102nd Ct
Suite 330
Omaha, NE 68114

U.S. Trustee
Jerry Jensen
Acting Assistant UST
U.S. Trustee's Office
111 South 18th Plz, Suite 1148
Omaha, NE 68102


And by Regular United States Mail Service, first class, postage fully pre-paid, to the parties listed
below on January 06, 2021:

Charles D. Bowlby
PR: Charles P. Bowlby
2311 Jameson South
Lincoln, NE 68512




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Dated: January 06, 2021

                                              BONIAL & ASSOCIATES, P.C.

                                              /s/ Ryan Forrest
                                              Ryan Forrest / # 21946
                                              Wesley T. Kozeny / # 22363
                                              Dustin Stiles / # 24200
                                              7905 L Street, Suite 330
                                              Omaha, Nebraska 68127
                                              Phone: (402) 932-3525
                                              Fax: (314) 991-6755
                                              NEBK@BonialPC.com
                                              Attorney for Specialized Loan Servicing, LLC




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